944 F.2d 900
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roger BAXTER, Plaintiff-Appellant,v.S.V. PRUETT, Warden;  M.D. SHARKER;  NURSE TRAIL,Defendants-Appellees.
    No. 91-7137.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 26, 1991.Decided Sept. 16, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.   Albert V. Bryan, Jr., Chief District Judge.  (CA-89-1727-AM)
      Roger Baxter, appellant pro se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Sandra Morris Holleran, McGuire, Woods, Battle &amp; Boothe, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before WILKINSON and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Roger Baxter appeals from the district court's order denying relief under 42 U.S.C. § 1983.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Baxter v. Pruett, CA-89-1727-AM (E.D.Va. May 20, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    